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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : C.A. NO.:
Bartels, Deceased,                                   : 1:16-cv-02145-CCC
                                       Plaintiffs,   :
                        vs.                          : (CONNER, C.J.)
                                                     :
THE MILTON HERSHEY SCHOOL, et al,                    :
                                                     :
                                     Defendants.     :
                                                     :

 DEFENDANTS’ AMENDED ANSWER AND AFFIRMATIVE DEFENSES
          TO PLAINTIFFS’ AMENDED COMPLAINT1

      Defendants, the Milton Hershey School (“MHS” or the “School”), and The

Hershey Trust Company (“HTC”), as trustee of The Milton Hershey School Trust

(collectively, “Defendants”), through undersigned counsel, hereby answer the

Amended Complaint inclusive of tort claims reinstated by the Court’s December 7,

2018, Memorandum Opinion and Order, (Docs. 216-17), of Plaintiffs, Julie Ellen

Wartluft f/k/a Julie Ellen Bartels (“Plaintiff Wartluft”), and Frederick L. Bartels,



      1
           Amendment of Defendants’ Answer and Affirmative Defenses is
necessitated by the Court’s reinstatement of certain tort claims on December 7,
2018. The reinstated tort claims were initially dismissed by the Court on August
10, 2017, in disposition of Defendants’ Rule 12 Motion. Thus, no responsive
pleading was required to the reinstated claims when the Defendants filed the initial
Answer and Affirmative Defenses to Plaintiffs’ Amended Complaint on August
24, 2017.
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Jr. (“Plaintiff Bartels”) (together, “Individual Plaintiffs”), Individually and as

Administrators of the Estate of Abrielle Kira Bartels, Deceased (the “Estate” or

“A.B.”) (all collectively, “Plaintiffs”).2 Defendants deny the averments contained

in Plaintiffs’ introductory statement and all headings, which are not set forth in

individual paragraphs to which Defendants could respond, and further deny the

averments contained in the subsequent paragraphs of the Amended Complaint as

follows:

                                INTRODUCTION

      MHS is a cost-free, not-for-profit residential school established in 1910, to

provide a positive, structured academic and residential curriculum to help children

gain the skills to be successful in all aspects of life. Today, MHS is among the

largest residential schools in the nation, offering individualized attention, small

class sizes, and top-notch academic programs to children in prekindergarten

through 12th grade from low-income families.

      A.B. began attending MHS in 2004 in Kindergarten. In her eighth grade

year, A.B.’s mental health began to rapidly deteriorate as a result of depression and

suicidal ideations. In response, approximately one month before A.B.’s mental


      2
        The Court’s December 7, 2018, Order reinstated Plaintiffs’ previously
dismissed tort claims found in Counts III, IX, X, XI, and XII. (Doc. 217.)
Additionally, the Court’s Memorandum Opinion and Order dismissed Counts VII-
VIII, and dismissed Count IX as to the Individual Plaintiffs. (Docs. 216-17.)

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health needs necessitated a higher level of care than MHS could provide,

Individual Plaintiffs and Karen Fitzpatrick (“Ms. Fitzpatrick”), a legal guardian of

A.B. authorized by Individual Plaintiffs to exercise legal and physical custody of

A.B., requested that A.B. be permitted to leave MHS and reside and attend public

school in Newport, Pennsylvania where Ms. Fitzpatrick and Plaintiff Bartels

resided in a recently-renovated, suburban, two-story home. A.B. wanted to go

home and Individual Plaintiffs and Ms. Fitzpatrick wanted her home. In May

2013, according to Individual Plaintiffs and Ms. Fitzpatrick, A.B.’s departure from

MHS was what was best for her, as A.B. was homesick and desired to attend

public school in Newport like her brother, who also resided with Ms. Fitzpatrick

and for whom Plaintiffs had also authorized Ms. Fitzpatrick to exercise legal and

physical custody in their stead.

      In May 2013, A.B.’s mental health deteriorated to a degree that precluded

her from participating in MHS’s academic and residential curriculums. A.B.’s

thoughts of suicide continued to intensify, necessitating a higher level of care than

MHS could provide. An in-patient mental health hospitalization was required to

treat A.B. on May 28, 2013, in order to meet her mental health needs. On June 5,

2013, A.B. was discharged to her parents, the Individual Plaintiffs.

      Soon after returning to MHS, A.B. disclosed to a classmate that she was

again experiencing urges to harm herself and that her medication was not

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working. At that that time, A.B.’s suicidal ideation was rated a 10 out of 10.

Accordingly, it was determined that A.B. required a higher level of care than MHS

could provide, thus necessitating her readmission to an in-patient mental health

institution to treat her recurring and increasingly severe suicidal ideations.

        On June 11, 2013, MHS referred A.B. to an in-patient mental health

institution for treatment. With the consent of the Individual Plaintiffs and Ms.

Fitzpatrick, A.B. was admitted to Pennsylvania Psychiatric Institute (“PPI”). PPI

conducted its own independent assessment of A.B., and concluded that she

required in-patient treatment at its facilities.       After a course of treatment

administered exclusively by PPI, and in anticipation of her discharge from PPI,

Plaintiff Wartluft and Ms. Fitzpatrick worked collaboratively with PPI and outside

mental health providers that they themselves identified to fashion a discharge plan

for A.B. The discharge plan crafted by PPI, with the participation and express

agreement of Plaintiff Wartluft and Ms. Fitzpatrick, did not involve MHS, nor did

it include any provision for treatment by MHS clinicians following discharge from

PPI.

        To ensure continuity of A.B.’s care, the discharge plan crafted by PPI, with

the express consent of Ms. Fitzpatrick and Plaintiff Wartluft, required treatment of

A.B. upon her discharge from PPI with a psychotherapist, specifically Lesley P.

Davis (“Ms. Davis”), of Pinnacle Health Psychological Associates (“PHPA”) at

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“Brady Hall.” Ms. Davis is a psychotherapist who was identified by Plaintiff

Wartluft to PPI for the provision of the required services to A.B., and with whom

PPI, at Plaintiff Wartluft’s direction, coordinated aftercare of A.B. commencing

with an appointment for treatment just hours after her discharge from PPI.

      In addition to continuing care of A.B. with Ms. Davis, the discharge plan

also directed Plaintiff Wartluft and Ms. Fitzpatrick to ensure A.B’s medication,

Zoloft, was taken as prescribed; to ensure medication monitoring was arranged

with PHPA; to engage family-based mental health services to provide for A.B.’s

long-term aftercare needs; to ensure that A.B. attend all follow-up appointments

with PHPA; and to contact crises intervention offices or the nearest emergency

room if urgent assistance related to A.B.’s mental health was required. Plaintiff

Wartluft and Ms. Fitzpatrick agreed to the terms of PPI’s discharge plan, and

accepted the responsibility of implementing the discharge plan for the benefit of

A.B. and the treatment of her mental health needs.

      On June 19, 2013, A.B. was discharged to Plaintiff Wartluft and Ms.

Fitzpatrick pursuant to the plan for aftercare crafted by A.B.’s treating clinicians at

PPI, and in conjunction with, and by the express agreement of, Individual Plaintiffs

and Ms. Fitzpatrick. Immediately upon her discharge on June 19, 2013, A.B. was

transported by Ms. Fitzpatrick from PPI to Brady Hall where Plaintiff Wartluft met

A.B. and Ms. Fitzpatrick to attend Ms. Davis’s initial treatment session with A.B.

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Following the appointment with Ms. Davis, Plaintiff Wartluft scheduled a follow-

up appointment with Ms. Davis for A.B. Plaintiff Wartluft subsequently refused

an earlier appointment for A.B. offered by Ms. Davis’s office.

      Following her initial session with Ms. Davis, A.B. returned to Plaintiff

Bartels’ and Ms. Fitzpatrick’s home in Newport, Pennsylvania – the same location

where, just one month prior, Plaintiff Wartluft and Ms. Fitzpatrick, had advised

MHS that they and A.B. wanted her to be.

      Unfortunately, once A.B. was with the Individual Plaintiffs and Ms.

Fitzpatrick, as they had requested in May 2013, the Individual Plaintiffs and Ms.

Fitzpatrick repeatedly failed to adequately care for A.B.        These parental and

custodial failures resulted in A.B.’s tragic suicide, and included, inter alia: (i)

dismissing A.B.’s depression and suicidal thoughts as merely “teenage angst” and

generally ignoring the severity of A.B.’s mental health symptoms; (ii) failing to

administer prescribed psychotropic medications to A.B. prior to her death; (iii)

failing to notify authorities or A.B.’s treating physicians that A.B.’s psychotropic

medication had gone missing three days before her suicide; (iv) failing to follow

PPI’s clear and direct discharge instructions for A.B.’s aftercare; (v) failing to

schedule the earliest available appointment for A.B.’s psychological treatment after

discharge from PPI, leaving A.B. with no psychological care during the ten days

from her discharge from PPI until she died by suicide at Plaintiff Bartels’ and Ms.

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Fitzpatrick’s home on June 29, 2013; (vi) and failing to adequately supervise A.B.,

leaving her on the day of her death, and just ten days following her discharge from

a mental health institution for severe suicidal ideations, in the custody of Ms.

Fitzpatrick’s elderly father, Thomas Fitzpatrick (“Mr. Fitzpatrick”),3 who advised

the Pennsylvania State Police that despite A.B. having told him recently that “life

was not worth living,” coupled with his knowledge that A.B.’s psychotropic

medication had gone missing days before, he left A.B. alone in the home in the

morning hours of June 29, 2013, and alone in her room for an extended period

prior to discovering her death by suicide.

      Following A.B.’s suicide at her family’s Newport home, Plaintiff Wartluft

made contact with F. Frederic “Ric” Fouad, a self-proclaimed “child advocate,”

and his organization, Protect the Hersheys’ Children, Inc. (“PHC”), who for twenty

(20) years, in concert with others, have implemented Fouad’s strategy of instituting

“serial lawsuits” attacking MHS and its leadership to “take back the School.”

Fouad called A.B.’s death the “break” he needed in his litigious crusade.

Thereafter, Fouad manufactured the theory of Plaintiffs’ case and Plaintiffs

adopted it. According to PHC’s website and social media publications in the wake

of A.B.’s death, A.B.’s enrollment had been terminated by MHS, and the

      3
        Mr. Fitzpatrick is the owner of the Newport, Perry County, home where
A.B. committed suicide and where A.B. primarily resided when home with her
family.

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Defendants’ implemented a “shadow policy” that required A.B.’s expulsion.

Tellingly, neither Plaintiff Wartluft nor Plaintiff Bartels have any personal

knowledge to support these averments of the Amended Complaint, but rather

Plaintiff Wartluft attributes the factual basis for Plaintiffs’ claims against

Defendants to the PHC website that Fouad alone controls.

      A.B. was never terminated from MHS. There is no “shadow policy” as the

Amended Complaint avers. And at the time of her death by suicide, MHS was on

summer break, and A.B. was home, in the custody of her family, just as she had

been every summer since her enrollment began in 2004.

                                     PARTIES

      1.     Admitted in part, denied in part. It is only admitted that the Individual

Plaintiffs are A.B.’s parents, and that Ms. Fitzpatrick was a “live-in companion of”

Plaintiff Bartels, who “acted as another guardian of” A.B. By way of further

answer, the Individual Plaintiffs exercised, and never relinquished, legal custody of

A.B. at all times relevant to the Amended Complaint, in addition to exercising

physical custody, care, and responsibility for A.B., in concert with Ms. Fitzpatrick,

at all times she was not on the MHS campus, including but not limited to preceding

and at the time of her death, and specifically at all times from the date of her

discharge from PPI to the date of her death by suicide. As averred, the Individual

Plaintiffs entrusted aspects of legal and physical custodial responsibility of A.B. to

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Ms. Fitzpatrick, including but not limited to the care and custody of A.B. on and

from the date of her discharge from PPI on June 19, 2013, and continuing through

the date of her death, the implementation of aspects of PPI’s discharge plan for

A.B., and at the precise time of A.B.’s death. The remainder of the averments in

this paragraph are denied, including as conclusions of law to which no response is

required.

      2.     Admitted in part, denied in part. It is only admitted that MHS is a

private school with grades Kindergarten to 12th for income-eligible families that is

organized and exists under the laws of the Commonwealth of Pennsylvania. It is

specifically denied that MHS and the HTC collectively refer to themselves as the

“‘Milton Hershey School and School Trust;’” and that MHS has “$12 billion in

assets.” The remainder of the averments in this paragraph are denied, including as

conclusions of law to which no response is required. By way of further response,

MHS, a non-profit entity, and HTC, a for-profit entity, are separate and distinct

corporate entities.

      3.     Admitted in part, denied in part. It is only admitted that HTC is a for-

profit entity located at 100 Mansion Road East, Hershey, PA 17033-0445. It is

specifically denied that the HTC was “organized for the purpose of serving as

trustee of the School Trust,” and that HTC “is wholly owned by the Milton

Hershey School.” The remainder of the averments in this paragraph are denied,

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including as conclusions of law to which no response is required. By way of

further response, HTC has no involvement with the day-to-day operations of the

School.

      4.     Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required. By way of further answer, it is

specifically denied that the School and HTC “share a self-perpetuating,

interlocking and integrated governance structure;” that the Board of Managers of

MHS, and the Board of Directors “are the same persons;” that the “board members

pay themselves extraordinary sums of compensation;” and that “their membership”

lacks appropriate qualifications. By way of further response, the governance of the

School and HTC are set forth in the Deed of Trust as amended and are not subject

to characterization or interpretation by Plaintiffs.

      5.     Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required. To the extent deemed factual, the

averments are specifically denied. By way of further answer, the averments of the

Amended Complaint averring notice to the non-party Board of Managers are

contrived as part of a false narrative perpetuated by a discredited critic of MHS

with whom the Individual Plaintiffs aligned themselves in the immediate wake of

their daughter’s death, and who was responsible for the formulation of the

Amended Complaint and the theories of liability advanced therein.

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      6-7. Denied. The averments of these paragraphs are denied as conclusions

of law to which no responsive pleading is required.

                          JURISDICTION AND VENUE

      8-11. Denied. The averments of these paragraphs are denied as conclusions

of law to which no responsive pleading is required.

      12.    Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required. To the extent deemed factual,

any quotation from the MHS website, or other published materials of the School,

speak for themselves and are not subject to the interpretation of Plaintiffs.

Therefore, the averments are specifically denied.

      13.    Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required.

      14.    Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required. To the extent deemed factual, the

Deed of Trust speaks for itself and is not subject to the interpretation of Plaintiffs.

Therefore, the averments are specifically denied.        By way of further answer,

Plaintiffs did not attach the Deed of Trust to the Amended Complaint as Exhibit

“A”, as they failed to attach any exhibits to the Amended Complaint.

      15.    Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required.

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                                      FACTS

      16.    Admitted in part, denied in part. It is admitted that A.B. was born on

April 13, 1999, was accepted to MHS on or about April 16, 2004, and died by

suicide on June 29, 2013. All other characterizations or descriptions of Plaintiffs’

alleged difficulties and/or A.B.’s enrollment at MHS are denied as conclusions of

law to which no responsive pleading is required, or if deemed factual, specifically

denied. By way of further response, A.B. committed suicide at the home Plaintiff

Bartels shared with his girlfriend, Ms. Fitzpatrick, in Newport, Perry County, PA,

during the summer break from MHS and while in the care and custody of Ms.

Fitzpatrick and/or Mr. Fitzpatrick, a responsibility willingly and consistently

delegated to Ms. Fitzpatrick by Plaintiff Wartluft, including while Plaintiff Bartels

was incarcerated. At the time of A.B.’s suicide, Ms. Fitzpatrick, after having failed

to properly monitor and administer A.B.’s prescription medication three days

earlier, and both she and Plaintiff Wartluft having failed to alert authorities or her

then treating psychotherapist that the medication was no longer being administered

to A.B., left A.B. at her Newport home to be supervised by her elderly father, Mr.

Fitzpatrick, who discovered A.B.’s body while Ms. Fitzpatrick was away from the

home, and after Mr. Fitzpatrick had left A.B. unsupervised, during which time

A.B. committed suicide.




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      By way of further response, A.B.’s suicide occurred ten (10) days after her

discharge from PPI where she had been receiving in-patient treatment from PPI

psychologists, independently of MHS, as a result of recurrent suicidal ideations.

Individual Plaintiffs and Ms. Fitzpatrick discounted and otherwise ignored the

severity of A.B.’s mental health condition, dismissing her depression and suicidal

ideations as nothing more than “teenage angst.” A.B. was discharged from PPI to

the care and custody of the Individual Plaintiffs. Ms. Fitzpatrick was authorized by

the Individual Plaintiffs to take custody of A.B. from PPI. A.B.’s discharge from

PPI was solely directed by PPI and was accomplished pursuant to a discharge plan

created by PPI, in consultation and agreement with Plaintiff Wartluft and Ms.

Fitzpatrick, that directed treatment and after care for A.B. with non-MHS affiliated

providers.    Specifically, no treatment or follow-up care with any MHS

psychologist or personnel was recommended by PPI’s discharge plan, the terms of

which both the Individual Plaintiffs and Ms. Fitzpatrick agreed to and accepted

upon A.B.’s discharge from PPI.

      In addition to identifying treatment providers for A.B.’s ongoing treatment

and care, PPI prescribed psychotropic medication for A.B., a prescription Ms.

Fitzpatrick immediately filled upon A.B.’s discharge from PPI, but that she and

Plaintiff Wartluft knowingly ceased administering to A.B. as prescribed at least

three (3) days before her death when the medication was lost. A.B. was without

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the benefit of her psychotropic medication for at a minimum the three (3) days

preceding her suicide, including on the day she died.

      Hours after her discharge from PPI on June 19, 2013, A.B. began treatment

with a non-MHS affiliated psychotherapist, Ms. Davis, who PPI identified in

A.B.’s discharge plan, and with whom PPI coordinated an initial outpatient

treatment appointment for A.B., including releasing A.B.’s medical records to Ms.

Davis in anticipation of the commencement of her treatment of A.B. Ms. Davis

was identified by Plaintiff Wartluft as the outpatient provider with whom she

wished A.B. to treat following her discharge from PPI, as Ms. Davis also treated

Plaintiff Wartluft.   Although Ms. Davis offered Plaintiff Wartluft a second

treatment appointment for A.B. before June 29, 2013, Plaintiff Wartluft declined

the appointment on behalf of A.B. in favor of a follow-up appointment that would

not occur for approximately one (1) month because Plaintiff Wartluft determined

that A.B. was doing well. The Individual Plaintiffs and Ms. Fitzpatrick failed to

take A.B. to a single appointment with any treatment provider identified in the PPI

discharge plan after her initial session with Ms. Davis on June 19, 2013. Thus, in

contravention of the terms of the PPI discharge plan, the Individual Plaintiffs and

Ms. Fitzpatrick failed to ensure that A.B.’s PPI discharge plan was complied with,

and failed to ensure that A.B. received proper treatment with Ms. Davis following

her PPI discharge.

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      17.    Denied. Defendants lack sufficient knowledge or information to form

a belief about the truth of the averments of this paragraph pertaining to alleged

“online posts,” or the content thereof and therefore specifically deny the

allegations contained within this paragraph. By way of further response, Plaintiffs

have failed to produce these purported “online posts” during discovery.

      18.    Denied. The averments of the paragraph are denied as conclusions of

law to which no responsive pleading is required. To the extent deemed factual,

records relating to A.B.’s attendance and enrollment at MHS speak for themselves

and are not subject to the characterization, description, or interpretation of

Plaintiffs. Therefore, the averments are specifically denied.

      19.    Denied. To the extent the averments of this paragraph are derived

from records of A.B.’s enrollment at MHS, such records speak for themselves and

are not subject to the characterization, description, or interpretation of Plaintiffs.

Therefore, the averments are specifically denied.

      20.    Denied. The averments of this paragraph are denied as conclusions of

law to which no responsive pleading is required. By way of further response, it is

specifically denied that A.B. “merely” “suffered a two-month bout of

depression[.]”

      21.    Admitted in part, denied in part. It is only admitted that MHS is a

cost-free, private, coeducational school. All other descriptions or characterizations

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of the suitability of MHS for A.B., or any other student, are denied as conclusions

of law to which no responsive pleading is required, and otherwise specifically

denied to the extent deemed factual. Defendants further deny the unnumbered

heading above ¶ 21 as a legal conclusion to which no responsive pleading is

required, and specifically deny that MHS has a special, custodial relationship with

its students, including A.B..

       22.    Denied. The enrollment and applicant data of MHS are not subject to

the approximation or characterization of Plaintiffs and the referenced data speaks

for itself. Therefore, the averments of this paragraph are specifically denied.

       23.    Denied. The budgetary expenditures of MHS speak for themselves

and are not subject to the approximation, characterization, or interpretation of

Plaintiffs.   Therefore, the averments of this paragraph are denied, both as

conclusions of law to which no responsive pleading is required and, to the extent

deemed factual, specifically denied.

       24-27. Denied. The averments of these paragraphs contain conclusions of

law to which no responsive pleading is required. To the extent the averments of

these paragraphs are derived from the MHS website, or other published materials

of the School, such materials and the content thereof speak for themselves and are

not subject to the interpretation of Plaintiffs.     Therefore, the averments are




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specifically denied. By way of further response, Defendants specifically deny that

any special, custodial relationship exists with MHS students, including A.B.

      28.    Denied. It is specifically denied that A.B. was expelled from MHS.

The remaining averments of this paragraph are denied as characterized by

Plaintiffs. By way of further answer, Plaintiffs did not attach Exhibit “B” to the

Amended Complaint, as they failed to attach any exhibits to the Amended

Complaint.

      29-32. Denied. The averments of these paragraphs contain conclusions of

law to which no responsive pleading is required. By way of further response, any

filings referenced in these paragraphs speak for themselves and any

characterization or interpretation thereof by Plaintiffs is specifically denied. In

addition, Defendants specifically deny that any special, custodial relationship

exists with MHS students, including A.B. By way of further answer, Plaintiffs did

not attach Exhibit “C” to the Amended Complaint, as they failed to attach any

exhibits to the Amended Complaint.

      33.    Admitted in part, denied in part. It is only admitted that MHS has

visitation rules regarding its students.       The averments of this paragraph

characterizing or interpreting MHS rules or practices are otherwise denied as

conclusions of law, or to the extent deemed factual, are specifically denied.




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      34.    Admitted in part, denied in part.      It is only admitted that MHS

transitions students into enrollment at the School. The averments of this paragraph

characterizing or interpreting MHS rules or practices are otherwise denied as

conclusions of law, or to the extent deemed factual, are specifically denied.

      35.    Admitted in part, denied in part. It is only admitted that MHS has

rules relating to student conduct. The averments of this paragraph characterizing

or interpreting MHS rules or practices are otherwise denied as conclusions of law,

or to the extent deemed factual, are specifically denied.

      36-37. Denied. The averments of these paragraphs contain conclusions of

law to which no responsive pleading is required. By way of further response, the

Individual Plaintiffs expressly retained and discharged legal custody of A.B.

during all times relevant to the Amended Complaint. It is specifically denied that

any “heightened” or “special” duty is owed to MHS students, including A.B.

      38-50. Denied. The averments of these paragraphs pertain to a matter

having no relevance or relation to the within action, and otherwise refer to the

Americans with Disabilities Act (“ADA”), a federal claim conspicuously absent

from Plaintiffs’ Amended Complaint.           By way of further response, these

paragraphs consist of redundant, immaterial, impertinent, or scandalous matter

which is improper pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.




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Accordingly, the averments of these paragraphs are irrelevant to Plaintiffs’ claims

and are specifically denied in relation to this action.

      By way of further answer, with regard to all reference to or quotation of any

writing, including but not limited to MHS records, court filings, settlement

agreements, and MHS policies contained in these paragraphs, such writings speak

for themselves and are not subject to any characterization or interpretation of

Plaintiffs. Therefore, the averments of these paragraphs are specifically denied.

      In addition, the averments of these paragraphs are denied as conclusions of

law to which no responsive pleading is required. Defendants specifically deny that

Plaintiffs attached Exhibit “E” to the Amended Complaint, as they failed to attach

any exhibits to the Amended Complaint.

      51-53.     Denied.     The averments of these paragraphs are denied as

conclusions of law to which no responsive pleading is required. By way of further

answer, Plaintiffs have alleged no cause of action for any alleged violation of the

ADA in the Amended Complaint.             Additionally, these paragraphs consist of

redundant, immaterial, impertinent, or scandalous matter which is improper

pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

      54-56.     Denied.     The averments of these paragraphs are denied as

conclusions of law to which no responsive pleading is required. By way of further

answer, Plaintiffs have alleged no cause of action for any alleged violation of the

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ADA in the Amended Complaint. The writings referenced in these paragraphs

speak for themselves and any attempt to interpret, apply, or characterize such

writings by Plaintiffs are specifically denied. By way of further response, it is

specifically denied that Defendants caused A.B.’s death.        Additionally, these

paragraphs consist of redundant, immaterial, impertinent, or scandalous matter

which is improper pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

      57.    Denied. The averments of this paragraph are conclusions of law to

which no responsive pleading is required.        By way of further answer, the

averments of this paragraph refer to the latest solicitation of government authority

by the same discredited critic of MHS who seized upon the Individual Plaintiffs in

the wake of their daughter’s death in order to advance his own radical policy

change agenda at the expense of yet another former MHS student. The averments

are specifically denied to the extent alleged to have any relevance to the within

action.     Additionally, these paragraphs consist of redundant, immaterial,

impertinent, or scandalous matter which is improper pursuant to Rule 12(f) of the

Federal Rules of Civil Procedure.

      58.    Admitted in part, denied in part. It is only admitted that A.B. applied

for enrollment in or around April 2004. The heading above ¶ 58 is denied as a

conclusion of law to which no responsive pleading is required, and to the extent

deemed factual, is specifically denied.

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      59.     Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required.

      60.    Denied. Any writing referenced in this paragraph and upon which the

averments are purportedly based speaks for itself and are not subject to any

characterization or interpretation by Plaintiffs. Therefore, the averments of this

paragraph are specifically denied. It is specifically denied that A.B.’s mother,

Plaintiff Wartluft, had cerebral damage that left her unable to adequately fulfill her

parental responsibility, such allegation lacking any competent medical support and

evidencing the grotesque distortion of alleged facts that the Individual Plaintiffs

and those acting in concert with them are willing to submit to advance their claims.

      61.    Admitted in part, denied in part. It is only admitted that A.B. engaged

in the MHS enrollment process. Any attempt to characterize or interpret such

process by Plaintiffs is specifically denied.

      62.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. To the extent any averment of

this paragraph is deemed factual, such averment is specifically denied.

      63.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further response,

Plaintiffs have not alleged a violation of the ADA in the causes of action included

in the Amended Complaint.

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      64.    Admitted in part, denied in part. It is only admitted that the writings

referenced in this paragraph exist. The remaining averments of this paragraph

constitute conclusions of law to which no response is required. By way of further

answer, Plaintiffs’ characterizations of the writings, and any reasons averred as to

why the writings were created, referenced in this paragraph are specifically denied.

The writings speak for themselves and any interpretation or characterization of

same by Plaintiffs are specifically denied. Additionally, it is specifically denied

that Plaintiffs attached Exhibit “F” to the Amended Complaint, as they failed to

attach any exhibits to the Amended Complaint.

      65.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

writings referenced in this paragraph speak for themselves and any interpretation

or characterization of same by Plaintiffs are specifically denied.

      66.    Admitted in part, denied in part.        It is only admitted that the

Handbook referenced in this paragraph exists. By way of further answer, the

Handbook speaks for itself and any interpretation or characterization of same by

Plaintiffs are specifically denied.

      67.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

Handbook speaks for itself and any interpretation or characterizations of same by

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Plaintiffs are specifically denied. In addition, Plaintiffs have not filed an ADA

cause of action.

      68.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further response, the

Handbook speaks for itself and any interpretation or characterization of same by

Plaintiffs are specifically denied.

      69.    Admitted. The heading above ¶ 69 is denied as a conclusion of law to

which no responsive pleading is required, and to the extent deemed factual, is

specifically denied.

       70.   Denied. The averments in this paragraph constitute conclusions of

law to which no responsive pleading is required. It is specifically denied that A.B.

was subjected to several incidents of bullying by her housemates and strict proof

thereof is demanded, none ever having been produced or identified. By way of

further response, in the spring of 2013, one of A.B.’s housemates accused A.B. of

making a series of threats against that housemate, which A.B. denied.

      71.    Denied. The averments in this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further response, to

the extent any cognizable injury to A.B. is alleged by virtue of having been

exposed to Plaintiff Bartels’ arrest and incarceration, such injury was caused by

Plaintiff Bartels’ own conduct for which he alone is responsible.

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      72.   Denied. The averments in this paragraph constitute conclusions of law

to which no responsive pleading is required. By way of further answer, Plaintiffs’

characterization of a minor child as “manipulative” and characterization of the said

minor child’s enrollment at MHS are specifically denied. By way of further

response, in the spring of 2013, one of A.B.’s housemates accused A.B. of making

a series of threats against that housemate, which A.B. denied.

      73.   Denied. It is specifically denied that the relief houseparents “sided

with M.” By way of further response, in the spring of 2013, one of A.B.’s

housemates accused A.B. of aggressive behavior against that housemate, and the

houseparents on duty at that time reported the alleged threats to the MHS

administration.

      74.   Admitted in part, denied in part. It is only admitted that A.B. was sent

to the Health Center on or about April 25, 2013. The remaining averments of this

paragraph are specifically denied. By way of further answer, it is specifically

denied that the Health Center is a “campus hospital-type facility . . . .” By way of

further answer, it is specifically denied that A.B. was disciplined relating to the

alleged aggressive behavior against another student. This paragraph also contains

conclusions of law that are denied and to which no responsive pleading is required.




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      75.    Denied. The averments of this paragraph are conclusions of law to

which no responsive pleading is required.        The averments of this paragraph

purporting to recite what A.B. “could not fathom” are specifically denied.

      76.    Admitted in part, denied in part. It is admitted only that A.B. went to

the Health Center on or about April 25, 2013; initially left the Health Center in the

afternoon on April 26, 2013; returned to the Health Center the evening of April 26,

2013; and was discharged from the Health Center on April 27, 2013.              It is

specifically denied that A.B. was mistreated. The averments of this paragraph

pertaining to the alleged impact on A.B. are conclusions of law that are denied and

to which no responsive pleading is required.

      77.    Admitted in part, denied in part. It is only admitted that on April 26,

2013, A.B. allegedly expressed to a housemate a desire to kill herself. To the

extent the remaining averments of this paragraph purport to recite the content of

medical records of A.B., such averments are specifically denied as the records

from which the information derives speak for themselves and any interpretation or

characterization of same by Plaintiffs are therefore denied.

      78.    Admitted in part, denied in part. It is only admitted that A.B. returned

to the Health Center on May 1, 2013, after reporting that she cut herself with a

crystal the previous evening; that she had thoughts of wanting to die; and that she

was eleven-years-old when she first thought about killing herself. To the extent

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the remaining averments of this paragraph purport to recite the content of medical

records of A.B., such averments are specifically denied as the records from which

the information allegedly derives speak for themselves and any interpretation or

characterization of same by Plaintiffs are therefore denied.       Moreover, the

allegations in this paragraph are denied generally to the extent such averments

constitute conclusions of law to which no response is required.

      79.   Admitted in part, denied in part.      It is admitted only that A.B.

underwent an examination on May 2, 2013. To the extent the remaining averments

of this paragraph purport to recite the content of medical records of A.B., such

averments are specifically denied as the records from which the information

derives speak for themselves and any interpretation or characterization of same by

Plaintiffs are denied.   Moreover, the allegations in this paragraph are denied

generally to the extent such averments constitute conclusions of law to which no

response is required.    The characterization of A.B.’s home life in Newport,

Pennsylvania as “unstable” is specifically denied. By way of further answer, to the

extent the averments as to A.B.’s home life in Newport, or any other location

where Individual Plaintiffs exercised custody of A.B., are intended to suggest that

MHS had any legal duty, obligation, or right, to impede or deny Individual

Plaintiffs from exercising legal or physical custody of A.B., such averments are

denied as conclusions of law. There was no circumstance with A.B.’s home life in

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Newport, or at Plaintiff Wartluft’s home, of which MHS was ever aware that

justified, or required, notification to proper authorities by MHS that A.B.’s health

or safety was jeopardized by the home environments where she resided with

Individual Plaintiffs or Ms. Fitzpatrick. All allegations as to the unsuitability of

A.B.’s home environments are contrived for the purpose of fitting the narrative that

was crafted following A.B.’s death to support the theories of liability that Plaintiffs

chose to adopt, and contradict the request of Plaintiff Wartluft and Ms. Fitzpatrick

just one month prior to A.B.’s suicide that A.B. should be sent home to Newport.

Any cognizable alleged injuries to A.B. were caused by the Individual Plaintiffs’

own negligence, and that of Ms. Fitzpatrick and/or Mr. Fitzpatrick.

      80.    Admitted in part, denied in part. It is only admitted that Dr. Herr met

with A.B. on or about May 6, 2013. To the extent the remaining averments of this

paragraph purport to recite the content of medical records of A.B., such averments

are specifically denied as the records from which the information derives speak for

themselves and any interpretation or characterization of same by Plaintiffs are

therefore denied. Moreover, the allegations in this paragraph are denied generally

to the extent such averments constitute conclusions of law to which no response is

required. By way of further response, the responsive averments to paragraph

seventy-nine (79) above as to allegations concerning A.B.’s home life and alleged




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MHS obligations related thereto are incorporated herein by reference as if set forth

in full in further denial of the averments of this paragraph.

      81.    Admitted in part, denied in part. It is only admitted that Dr. Herr met

with A.B. on or about May 16, 2013. To the extent the remaining averments of

this paragraph purport to recite the content of medical records of A.B., such

averments are specifically denied as the records from which the information

derives speak for themselves and any interpretation or characterization of same by

Plaintiffs are therefore denied. Moreover, the allegations in this paragraph are

denied generally to the extent such averments constitute conclusions of law to

which no response is required.       The characterization of A.B.’s home life as

“volatile” is specifically denied.    By way of further response, the responsive

averments to paragraph seventy-nine (79) above as to allegations concerning

A.B.’s home life and alleged MHS obligations related thereto are incorporated

herein by reference as if set forth in full in further denial of the averments of this

paragraph.

      82.    Admitted in part, denied in part. It is only admitted that Dr. Herr met

with A.B. on or about May 20, 2013. To the extent the remaining averments of

this paragraph purport to recite the content of medical records of A.B., such

averments are specifically denied as the records from which the information

derives speak for themselves and any interpretation or characterization of same by

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Plaintiffs are therefore denied. Moreover, the allegations in this paragraph are

denied generally to the extent such averments constitute conclusions of law to

which no response is required.       By way of further response, the responsive

averments to paragraph seventy-nine (79) above as to allegations concerning

A.B.’s home life and alleged MHS obligations related thereto are incorporated

herein by reference as if set forth in full in further denial of the averments of this

paragraph.

      83.    Admitted in part, denied in part. It is admitted only that A.B. was

admitted to the Health Center on May 21, 2013. To the extent the remaining

averments of this paragraph purport to recite the content of medical records of

A.B., such averments are specifically denied as the records from which the

information derives speak for themselves and any interpretation or characterization

of same by Plaintiffs are therefore denied.      Moreover, the allegations in this

paragraph are denied generally to the extent such averments constitute conclusions

of law to which no response is required. Additionally, Defendants specifically

deny Plaintiffs’ characterization of any suicide attempt by A.B. as “half-hearted.”

Such characterization is indicative of the callousness with which Individual

Plaintiffs regarded A.B.’s suicidal ideations, and is consistent with Plaintiff

Wartluft’s practice of ignoring and discounting the severity of her daughter’s

mental health condition. By way of further response, the responsive averments to

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paragraph seventy-nine (79) above as to allegations concerning A.B.’s home life

and alleged MHS obligations related thereto are incorporated herein by reference

as if set forth in full in further denial of the averments of this paragraph.

      84.    Denied. To the extent the remaining averments of this paragraph

purport to recite the content of medical records of A.B., such averments are

specifically denied as the records from which the information derives speak for

themselves and any interpretation or characterization of same by Plaintiffs are

therefore denied. Moreover, the allegations in this paragraph are denied generally

to the extent such averments constitute conclusions of law to which no response is

required.   Furthermore, any characterization of the home lives of the Individual

Plaintiffs or Ms. Fitzpatrick as “unstable and chaotic” is specifically denied. By

way of further response, the responsive averments to paragraph seventy-nine (79)

above as to allegations concerning A.B.’s home life and alleged MHS obligations

related thereto are incorporated herein by reference as if set forth in full in further

denial of the averments of this paragraph. In addition, it is specifically denied that

A.B.’s family lacked the financial resources to take care of themselves or A.B., an

allegation that has been directly contradicted by the deposition testimony of the

Individual Plaintiffs, Ms. Fitzpatrick, A.B.’s brother, Jacob Bartels, and Mr.

Fitzpatrick. By way of further response, any cognizable alleged injuries to A.B.




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were caused by the Individual Plaintiffs’ own negligence, and that of Ms.

Fitzpatrick and/or Mr. Fitzpatrick.

      85-86. Denied. To the extent the averments of these paragraphs purport to

recite the content of medical records of A.B., such averments are specifically

denied as the records from which the information derives speak for themselves and

any interpretation or characterization of same by Plaintiffs are therefore denied.

Moreover, the allegations in this paragraph are denied generally to the extent such

averments constitute conclusions of law to which no response is required.

      87.    Admitted in part, denied in part. It is admitted only that A.B. was

discharged from the Health Center on May 23, 2013, re-admitted later that same

day, and then discharged again on May 24, 2013. To the extent the remaining

averments of this paragraph purport to recite the content of medical records of

A.B., such averments are specifically denied as the records from which the

information derives speak for themselves and any interpretation or characterization

of same by Plaintiffs are therefore denied.     Moreover, the allegations in this

paragraph are denied generally to the extent such averments constitute conclusions

of law to which no response is required.

      88.    Admitted in part, denied in part. It is only admitted that Dr. Herr

conducted a session with A.B. on May 28, 2013, and after consulting with MHS

psychological services staff and conducting an individualized assessment of A.B.,

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the need for hospitalization at an in-patient mental health facility was indicated and

A.B. was admitted to Philhaven. By way of further response, A.B. reported that

she had suicidal urges over that past weekend, but had not shared that information

with any adult, and that she did not act on her suicidal ideations because she did

not have any immediate means available to commit death by suicide. To the extent

the remaining averments of this paragraph purport to recite the content of medical

records of A.B., such averments are specifically denied as the records from which

the information derives speak for themselves and any interpretation or

characterization of same by Plaintiffs are therefore denied.          Moreover, the

allegations in this paragraph are denied generally to the extent such averments

constitute conclusions of law to which no response is required.

      89.    Admitted in part, denied in part. It is admitted only that A.B. was

admitted to and received treatment from Philhaven from May 28, 2013, to June 5,

2013, with the consent of the Individual Plaintiffs, and following discharge to her

parents on June 5, 2013, went to the MHS Health Center. Any characterization of

Philhaven by Plaintiffs is specifically denied.       To the extent the remaining

averments of this paragraph purport to recite the content of medical records of

A.B., such averments are specifically denied as the records from which the

information derives speak for themselves and any interpretation or characterization

of same by Plaintiffs are therefore denied.      Moreover, the allegations in this

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paragraph are denied generally to the extent such averments constitute conclusions

of law to which no response is required. By way of further response, to the extent

the averments of this paragraph are contradicted by witness testimony, any such

averments are specifically denied.

      90.   Denied. To the extent the remaining averments of this paragraph

purport to recite the content of medical records of A.B., such averments are

specifically denied as the records from which the information derives speak for

themselves and any interpretation or characterization of same by Plaintiffs are

therefore denied. Moreover, the allegations in this paragraph are denied generally

to the extent such averments constitute conclusions of law to which no response is

required. By way of further response, it is specifically denied that Philhaven’s

discharge instructions indicated that “Philhaven professionals saw MHS as a

critical component of her therapeutic recovery.” Additionally, it is denied that

Plaintiffs attached Exhibit “H” to the Amended Complaint, as they failed to attach

any exhibits to the Amended Complaint.

      91.   Admitted in part, denied in part. It is admitted only that A.B. was

discharged by Philhaven on June 5, 2013. To the extent the remaining averments

of this paragraph purport to recite the content of medical records of A.B., such

averments are specifically denied as the records from which the information

derives speak for themselves and any interpretation or characterization of same by

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Plaintiffs are therefore denied. Moreover, the allegations in this paragraph are

denied generally to the extent such averments constitute conclusions of law to

which no response is required.       By way of further response, the responsive

averments to paragraph seventy-nine (79) above as to allegations concerning

A.B.’s home life and alleged MHS obligations related thereto are incorporated

herein by reference as if set forth in full in further denial of the averments of this

paragraph.

      92.    Admitted in part, denied in part. It is admitted only that A.B. was

admitted to the Health Center on June 7, 2013, expressing an urge to die rating of 9

on a scale of 10; A.B. visited with her family on both June 8 and June 9, 2013; and

she remained in the Health Center until June 11, 2013. To the extent the remaining

averments of this paragraph purport to recite the content of medical records of

A.B., such averments are specifically denied as the records from which the

information derives speak for themselves and any interpretation or characterization

of same by Plaintiffs are therefore denied.      Moreover, the allegations in this

paragraph are denied generally to the extent such averments constitute conclusions

of law to which no response is required.         By way of further response, the

responsive averments to paragraph seventy-nine (79) above as to allegations

concerning A.B.’s home life and alleged MHS obligations related thereto are




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incorporated herein by reference as if set forth in full in further denial of the

averments of this paragraph.

      93.    Admitted in part, denied in part. It is only admitted that following an

individualized assessment of A.B., the need for hospitalization at an in-patient

mental health facility was again indicated on or about June 10, 2013, when A.B.

reported suicidal urges at 10 on a scale of 10, but there were no beds available. To

the extent the remaining averments of this paragraph purport to recite the content

of medical records of A.B., such averments are specifically denied as the records

from which the information derives speak for themselves and any interpretation or

characterization of same by Plaintiffs are therefore denied.         Moreover, the

allegations in this paragraph are denied generally to the extent such averments

constitute conclusions of law to which no response is required.

      94.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

writing from which the content of this paragraph derives speaks for itself and is not

subject to characterization or interpretation by Plaintiffs. Therefore, the averments

of this paragraph are specifically denied.

      95.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

writing from which the content of this paragraph derives speaks for itself and is not

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subject to characterization or interpretation by Plaintiffs. Therefore, the averments

of this paragraph are specifically denied.

      96.    Admitted in part; denied in part. It is admitted only that A.B. was

admitted to an independent, in-patient mental health hospital, PPI, on June 11,

2013, and was discharged to the Individual Plaintiffs and Ms. Fitzpatrick on June

19, 2013.    During her admission to PPI, PPI prescribed A.B. psychotropic

medications. To the extent the remaining averments of this paragraph purport to

recite the content of medical records of A.B., such averments are specifically

denied as the records from which the information derives speak for themselves and

any interpretation or characterization of same by Plaintiffs are therefore denied.

Moreover, the allegations in this paragraph are denied generally to the extent such

averments constitute conclusions of law to which no response is required.

      By way of further response, MHS was not responsible for A.B.’s discharge

plan from PPI, nor for the creation of discharge instructions crafted by PPI that

governed A.B.’s treatment plan following her discharge. In fact, Plaintiff Wartluft

and Ms. Fitzpatrick collaborated with PPI in formulating the discharge plan which

made no provision for the involvement of MHS clinicians in A.B.’s care following

her discharge from PPI. Plaintiff Wartluft and Ms. Fitzpatrick failed to comply

with PPI’s discharge plan for A.B., despite their responsibility for the

implementation of same.

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      97.    Denied. To the extent the remaining averments of this paragraph

purport to recite the content of medical records of A.B., such averments are

specifically denied as the records from which the information derives speak for

themselves and any interpretation or characterization of same by Plaintiffs are

therefore denied. Moreover, the allegations in this paragraph are denied generally

to the extent such averments constitute conclusions of law to which no response is

required. By way of further response, Dr. Herr determined that A.B. required a

higher level of care than MHS could provide and appropriately referred her for in-

patient hospitalizations. Neither MHS nor Dr. Herr were responsible for A.B.’s

treatment at either Philhaven or PPI. To the contrary, during her admission to PPI,

A.B.’s treatment was administered by PPI professionals, and the plan for her

discharge and subsequent care was directed by PPI to occur with treatment

providers not affiliated with MHS, all with the consent and acknowledgement of

the Individual Plaintiffs.

      98.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that MHS decided, or had

any part, in fashioning the terms of A.B.’s discharge from PPI, including the

treatment providers from whom A.B. was to receive after care, or the Individual

Plaintiffs and Ms. Fitzpatrick’s adherence to the terms of PPI’s discharge plan.

PPI decided to discharge A.B. on June 19, 2013, into the care of Ms. Fitzpatrick,

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based upon the consent of Plaintiff Wartluft, and without any notification to MHS.

Defendants played no role in A.B.’s discharge from PPI on June 19, 2013. By way

of further response, the characterizations of A.B.’s home life with Plaintiff

Wartluft or Ms. Fitzpatrick as “chaotic,” “volatile,” and “financially unstable” are

specifically denied. The responsive averments to paragraph seventy-nine (79)

above as to allegations concerning A.B.’s home life and alleged MHS obligations

related thereto are incorporated herein by reference as if set forth in full in further

denial of the averments of this paragraph.

       99.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that Defendants engaged in

an “image-preserving expulsion” of A.B..         To the contrary, A.B. was never

expelled from MHS. By way of further response, Defendants never terminated

A.B.’s enrollment with the School and were not involved in her discharge from

PPI.

       100. Denied. The averments of this paragraph are conclusions of law to

which no response is required. The mischaracterization of any writing contained in

this paragraph is specifically denied.

       101. Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to the extent deemed factual, the averments are

specifically denied. It is specifically denied that MHS decided, or had any part, in

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fashioning the terms of A.B.’s discharge from PPI, including the treatment

providers from whom A.B. was to receive after care, or the Individual Plaintiffs

and Ms. Fitzpatrick’s adherence to the terms of PPI’s discharge plan. PPI decided

to discharge A.B. on June 19, 2013, into the care of Ms. Fitzpatrick, based upon

the oral consent of Plaintiff Wartluft, and without any notification to MHS.

Defendants played no role in A.B.’s discharge from PPI on June 19, 2013. By way

of further response, it is specifically denied that the home lives of the Individual

Plaintiffs or Ms. Fitzpatrick were chaotic at the time of A.B.’s discharge from PPI,

or during periods relevant to the Amended Complaint, any such characterization

being expressly contradicted by the actual circumstances of A.B.’s home life

environments with Plaintiff Wartluft, Ms. Fitzpatrick, and Plaintiff Bartels. By

way of further response, the responsive averments to paragraph seventy-nine (79)

above as to allegations concerning A.B.’s home life and alleged MHS obligations

related thereto are incorporated herein by reference as if set forth in full in further

denial of the averments of this paragraph.            Defendants further deny the

unnumbered heading above ¶ 101 as a legal conclusion to which no responsive

pleading is required, or to the extent deemed factual, specifically deny same.

      102.    Admitted in part, denied in part. It is admitted only that the MHS

academic year ended on June 21, 2013.            The remaining averments of this

paragraph are denied. By way of further response, neither A.B., nor anyone acting

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on behalf of A.B., ever requested to participate in MHS’ Year Round Experience.

To the contrary, the Individual Plaintiffs indicated to MHS that A.B. had no

intention of participating in that program.

      103.    Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

Handbook speaks for itself and any interpretation or characterization of same by

Plaintiffs are specifically denied.

      104. Denied. The averments of this paragraph constitute conclusions of

law to which no responsive pleading is required. By way of further answer, the

promotional material speaks for itself and any interpretation or characterizations of

same by Plaintiffs are specifically denied. By way of further response, neither

A.B. nor anyone acting on behalf of A.B. ever requested to participate in MHS’

Year Round Experience. To the contrary, the Individual Plaintiffs indicated to

MHS that A.B. had no intention of participating in that program, and they never

signed A.B. up for the Year Round Experience. Additionally, it is denied that

Plaintiffs attached a copy of Exhibit “I” to the Amended Complaint, as they failed

to attach any exhibits to the Amended Complaint.

      105.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that MHS decided, or had

any part, in fashioning the terms of A.B.’s discharge from PPI, including the

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treatment providers from whom A.B. was to receive after care, or in ensuring the

Individual Plaintiffs and Ms. Fitzpatrick’s adherence to the terms of PPI’s

discharge plan. PPI decided to discharge A.B. on June 19, 2013, into the care of

Ms. Fitzpatrick, based upon the oral consent of Plaintiff Wartluft, and without any

notification to MHS. Defendants played no role in A.B.’s discharge from PPI on

June 19, 2013. By way of further response, it is specifically denied that the Year

Round Experience was an “ideal opportunity” for A.B., any such characterization

having been expressly contradicted by witness testimony and record evidence

adduced during discovery in the case. Additionally, information developed during

discovery in this case evidences that A.B.’s plan for the 2013 summer was to spend

it with Ms. Fitzpatrick in Newport, PA, Plaintiff Wartluft in Steelton, PA, and her

grandparents in Arizona.

      106-07. Denied. The averments of these paragraphs are conclusions of law

to which no response is required, and to the extent deemed factual, are specifically

denied. By way of further denial, the responsive averments of paragraph sixteen

(16) above are incorporated herein by reference as if set forth in full. Dr. Herr

determined that A.B. required a higher level of care than MHS could provide and

appropriately referred her for in-patient hospitalizations. Neither MHS nor Dr.

Herr were responsible for A.B.’s treatment at either Philhaven or PPI. To the

contrary, during her admission to PPI, A.B.’s treatment was administered by PPI

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professionals, and the plan for her discharge and subsequent care was directed by

PPI to occur with treatment providers not affiliated with MHS, all with the consent

and acknowledgement of the Individual Plaintiffs. Additionally, Defendants had

not finalized any decision concerning A.B.’s enrollment status at the School as of

the date of her death by suicide, and in fact, MHS never terminated A.B.’s

enrollment.

      108-09. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. It is specifically denied that Defendants maintain

a “‘shadow policy’” that “robotically mandate[s] that a student be expelled after

two hospitalizations.” By way of further response, Defendants never made the

decision to terminate A.B.’s enrollment at MHS, as she died by suicide in the care,

custody, and control of Plaintiff Wartluft and Ms. Fitzpatrick on June 29, 2013, in

Newport, PA. Defendants further specifically deny the heading above ¶ 108.

      Moreover, the averments of these paragraphs pertain to a matter having no

relevance or relation to the within action, and otherwise refer to the ADA, a federal

claim conspicuously absent from Plaintiffs’ Amended Complaint. Accordingly, the

averments of these paragraphs are irrelevant to Plaintiffs’ claims and are

specifically denied in relation to this action. By way of further answer, regarding

reference to or quotation of any writing, including but not limited to MHS records,

court filings, settlement agreements, and MHS policies contained in these

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paragraphs, such writings speak for themselves and are not subject to any

characterization or interpretation of Plaintiffs. Therefore, the averments of these

paragraphs are specifically denied.

      110.   Denied.

      111.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, it is specifically denied

that Defendants maintain any “‘two-institutionalization’ rule” or policy.

Moreover,     according    to   Plaintiff    Wartluft’s   testimony    the    “two-

institutionalization” rule is derived from a discredited critic of MHS with whom

the Individual Plaintiffs aligned themselves in the immediate wake of their

daughter’s death, and who was responsible for the formulation of Plaintiffs’

Amended Complaint and the theories of liability averred therein.

      112.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, it is specifically denied

that Defendants maintain any “‘two-institutionalization’ rule” or policy.

Moreover,     according    to   Plaintiff    Wartluft’s   testimony    the    “two-

institutionalization” rule is derived from a discredited critic of MHS with whom

the Individual Plaintiffs aligned themselves in the immediate wake of their

daughter’s death, and who was responsible for the formulation of Plaintiffs’

Amended Complaint and the theories of liability averred therein.

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      113.   Denied. To the extent the averments of this paragraph characterize

A.B.’s student records, such records speak for themselves and are not subject to

any characterization or interpretation of Plaintiffs. It is specifically denied that

A.B. “consistently expressed a strong desire to remain at MHS.” Rather, A.B.

expressed a desire to go to public school with her brother and best friend in

Newport, PA, which Plaintiff Wartluft, and Ms. Fitzpatrick expressly confirmed

and sought to accomplish in communications with MHS in May 2013, just one

month prior to A.B.’s discharge by PPI to the custody of Individual Plaintiffs and

Ms. Fitzpatrick and A.B.’s return to her home in Newport.

      114.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that Defendants maintain

an “automatic expulsion” policy.       It is also specifically denied that any such

expulsion policy was ever communicated to Plaintiff Wartluft of A.B. by Dr. Herr.

Furthermore, to the extent the averments of this paragraph characterize A.B.’s

student records, such records speak for themselves and are not subject to any

characterization or interpretation of Plaintiffs. By way of further response, MHS

did not terminate A.B.’s enrollment.

      115.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. Furthermore, to the extent the averments of this

paragraph characterize A.B.’s student records, such records speak for themselves

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and are not subject to any characterization or interpretation of Plaintiffs. It is

specifically denied that Defendants maintain an “automatic expulsion” policy. By

way of further response, MHS did not terminate A.B.’s enrollment.

      116.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, Defendants were not

“warned” about the consequences of the alleged “policy” because such a policy

does not exist.   By way of further response, MHS did not terminate A.B.’s

enrollment.

      117.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. The averments of this paragraph pertaining to any

determination regarding A.B.’s enrollment are specifically denied. Additionally,

Plaintiffs have failed to identify any witness or document supporting the baseless

allegations of this paragraph during discovery.

      118.    Admitted in part, denied in part. It is only admitted that Dr. Herr

spoke with Plaintiff Wartluft on June 19, 2013, during which he learned for the

first time that A.B. had been discharged from PPI to the care and custody of her

family. By way of further response, to the extent the averments of this paragraph

characterize A.B.’s student records, such records speak for themselves and are not

subject to any characterization or interpretation of Plaintiffs, and are therefore

denied.

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      119.     Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that MHS was the “only

community” A.B. “knew,” as she regularly went home to Newport, PA, and

Steelton, PA on weekends, the summer, and during School breaks.

      120.     Admitted in part, denied in part.    It is only admitted that MHS

notifies all parents of the scheduling of 8th grade promotion ceremony, which was

scheduled for June 21, 2013. In addition it is admitted that A.B.’s houseparents,

without consultation with MHS, invited A.B. to a post-8th grade promotion

ceremony barbeque at the student home.          Plaintiffs’ characterization of the

importance of the 8th grade promotion ceremony to students enrolled at MHS,

including A.B., is specifically denied and has been contradicted by the deposition

testimony of Plaintiff Wartluft. Defendants further specifically deny the heading

above ¶ 120.

      121.     Denied. The averments of this paragraph are conclusions of law to

which no response is required.       Defendants lack knowledge or information

sufficient to form a belief about the truth of this averment alleging A.B.’s feelings

concerning the 8th grade promotion ceremony.

      122.     Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that Defendants maintain a

“two-institutionalization” policy. By way of further response, Defendants deny the

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mischaracterization of any records referenced in this paragraph, and further deny

that Plaintiffs attached Exhibit “J” to the Amended Complaint, as they failed to

attach any exhibits to the Amended Complaint.

      123.   Denied. To the extent the averments of this paragraph characterize

A.B.’s writings, such records speak for themselves and any characterizations

thereof are denied. By way of further response, the Individual Plaintiffs and their

counsel have failed to preserve A.B.’s diaries and/or journals during the time

periods relevant to the Amended Complaint, and specifically during the critical ten

(10) day period between her discharge from PPI and her suicide on June 29, 2013.

      124.   Denied. To the extent the averments of this paragraph characterize

A.B.’s writings, such records speak for themselves and any characterizations

thereof are denied. By way of further response, it is specifically denied that MHS

advised A.B. that an “enrollment review” was being conducted and MHS never

conducted or recommended an “enrollment review” with respect to A.B.

Additionally, it is specifically denied that an “enrollment review” is a known as, or

is, a precursor to expulsion as averred in this paragraph.

      125.   Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to the extent deemed factual, are specifically

denied. It is specifically denied that an “enrollment review” is only used to pursue




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expulsions. Nonetheless, MHS never conducted or recommended an “enrollment

review” with respect to A.B.

      126.   Denied. The averments of this paragraph are conclusions of law to

which no response is required and to the extent deemed factual, are specifically

denied. It is specifically denied that enrollment reviews are “sham proceedings.”

By way of further response, MHS never conducted or recommended an

“enrollment review” with respect to A.B.

      127-28.      Denied. The averments of these paragraphs are conclusions of

law to which no response is required. By way of further response, Defendants

incorporate by reference its response to ¶ 126.

      129.   Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to the extent deemed factual, are specifically

denied.   It is specifically denied that an “enrollment review” process was

conducted or recommended with respect to A.B. By way of further response,

Defendants incorporate by reference its response to ¶ 126. Furthermore, to the

extent the averments of this paragraph characterize A.B.’s writings, such records

speak for themselves and any characterizations thereof are denied.

      130.   Denied. The averments of this paragraph are conclusions of law to

which no response is required.          The averments concerning any alleged

conversation with Plaintiff Wartluft are specifically denied.    It is specifically

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denied that Plaintiff Wartluft was ever told that A.B. was a danger to other

children.

      131.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent the averments of this paragraph are

deemed factual, the averments are specifically denied. By way of further response,

any cognizable alleged injuries to A.B. were caused by the Individual Plaintiffs’

own negligence, and that of Ms. Fitzpatrick and/or Mr. Fitzpatrick.

      132.   Denied.    The averments of this paragraph as to what Dr. Herr

allegedly “knew” are specifically denied.      Plaintiffs’ characterizations of the

circumstances described in this paragraph are specifically denied. By way of

further response, contrary to the averments of this paragraph, and the alleged

impact of not attending the promotion ceremony on A.B., Plaintiff Wartluft

testified that “I think [A.B.] was okay with it, actually.    I think she seemed

shockingly okay with it, actually. I was actually surprised that she was so okay

with” not attending her 8th grade promotion ceremony.

      133.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent the averments of this paragraph are

deemed factual, the averments are specifically denied. By way of further response,

any cognizable alleged injuries to A.B. were caused by the Individual Plaintiffs’

own negligence, and that of Ms. Fitzpatrick and/or Mr. Fitzpatrick.

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      134.   Denied.    It is specifically denied that Defendants have a “‘two

hospitalization’ expulsion policy.” Contrary to the averments of this paragraph,

Dr. Herr’s reference to the number of in-patient hospitalizations of A.B. had

nothing to do with any alleged “shadow policy,” of which there is no evidence, but

rather speak to the clinical significance of the proximity and need for A.B.’s

repeated in-patient hospitalizations, and informed his clinical judgment that A.B.

required a level of care beyond that which MHS could provide. By way of further

response, the averments of this paragraph characterize a writing which speaks for

itself and thus those mischaracterizations are specifically denied.

      135.   Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to extent deemed factual, are specifically

denied. By way of further response, the characterizations of the conversations

between A.B. and her brother are specifically denied and contrary to Jacob Bartels’

deposition testimony.

      136.   Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to the extent deemed factual, are specifically

denied. Additionally, Defendants deny the mischaracterization of any records

referred to in this paragraph. By way of further response, MHS did not terminate

A.B.’s enrollment, nor was she expelled from MHS. To the contrary, as of the date

of her death, the letter memorializing the leave of absence for which Dr. Herr had

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advocated was awaiting final signature before transmission to the Individual

Plaintiffs. Further, Defendants deny the unnumbered paragraph above ¶ 136.

      137.   Denied. The averments of this paragraph are conclusions of law to

which no response is required, and to the extent deemed factual, are specifically

denied. By way of further response, contrary to the averments of this paragraph,

and the alleged impact of not attending the promotion ceremony on A.B., Plaintiff

Wartluft testified that “I think [A.B.] was okay with it, actually. I think she

seemed shockingly okay with it, actually. I was actually surprised that she was so

okay with” not attending her 8th grade promotion ceremony. By way of further

answer, the responsive averments to paragraph seventy-nine (79) above as to

allegations concerning A.B.’s home life and alleged MHS obligations related

thereto are incorporated herein by reference as if set forth in full in further denial

of the averments of this paragraph.

      138.   Admitted in part, denied in part. Plaintiffs’ characterizations of the

circumstances of this paragraph are specifically denied.         By way of further

response, MHS was forced to prepare for A.B.’s potential appearance at the 8th

grade promotion ceremony due to the irrational behavior of Plaintiff Wartluft, who

threatened to attend and create conflict with MHS personnel in front of A.B.,

exhibiting Plaintiff Wartluft’s consistent disregard for the severity of A.B.’s mental

health condition.

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      139.   Admitted in part, denied in part. It is admitted that A.B. committed

suicide by hanging on June 29, 2013, at Plaintiff Bartels’ and Ms. Fitzpatrick’s

residence in Newport, Perry County. To the extent the averments of this paragraph

are intended to relate to causation, such averments are denied as conclusions of law

to which no responsive pleading is required.

      140.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, Defendants did not

terminate A.B.’s enrollment.    The remaining averments of this paragraph are

specifically denied.

      141.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, Defendants deny the

mischaracterization of any records referred to within this paragraph.           The

allegations regarding the inclinations of MHS are specifically denied. By way of

further response, MHS never terminated A.B.’s enrollment.

      142.   Denied. To the extent the averments of this paragraph characterize

writings, such writings speak for themselves and any characterizations thereof are

denied. It is specifically denied that any process of expulsion or enrollment review

was ever convened or recommended with respect to A.B. No enrollment review

was ever conducted or recommended as to A.B.




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      143.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, to the extent the

averments of this paragraph characterize writings, such writings speak for

themselves and any characterizations thereof are denied. It is specifically denied

that the level of Dr. Herr’s involvement in A.B.’s treatment at PPI was related to

any alleged expulsion or “two hospitalization” policy, the existence of any such

policies being specifically denied. To the contrary, the involvement of Dr. Herr in

any treatment rendered by PPI from June 11, 2013, to June 19, 2013, was dictated

by PPI, the entity responsible for A.B.’s treatment at that time.

      144.   Denied. It is specifically denied that A.B. was “turned away from

MHS to return to her parents on June 19, 2013.” To the contrary, A.B. was

discharged into the care and custody of the Individual Plaintiffs and Ms.

Fitzpatrick by PPI on June 19, 2013, pursuant to PPI’s discharge plan with

recommendations for follow up treatment and aftercare with mental health

professionals unaffiliated with MHS. It is further specifically denied that the

Individual Plaintiffs and/or Ms. Fitzpatrick were incapable of implementing the

terms of the PPI discharge plan, a responsibility they both acknowledged and

agreed to as a condition of A.B.’s discharge from PPI.

      145.   Denied. By way of further response, the Individual Plaintiffs and Ms.

Fitzpatrick were advised as to the seriousness of A.B.’s mental health issues, but

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nevertheless chose to discount the seriousness of A.B.’s suicidal ideations and

ignored PPI’s discharge plan, in failing to ensure follow up treatment with

recommended professionals, failing to administer prescribed medications, and

leaving her in the sole custody of Ms. Fitzpatrick’s elderly father, Mr. Fitzpatrick,

on the date of her death.

      146.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent deemed factual, the averments of this

paragraph are specifically denied. By way of further response, it is specifically

denied that MHS was the “only place” A.B. “knew as home.”

      147-51.      Denied. The averments of these paragraphs are conclusions of

law to which no response is required. To the extent deemed factual, the averments

of these paragraphs are specifically denied.

      152.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent deemed factual, the averments of this

paragraph are specifically denied.     By way of further answer, the responsive

averments to paragraph seventy-nine (79) above as to allegations concerning

A.B.’s home life and alleged MHS obligations related thereto are incorporated

herein by reference as if set forth in full in further denial of the averments of this

paragraph. It is specifically denied that the quoted language of this paragraph is

contained in any writing made by MHS or was said orally at any time.

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      153.    Admitted in part, denied in part. It is only admitted that Ric Fouad,

who works in concert with Plaintiffs’ attorneys from Dilworth Paxson, LLP,

contrived and orchestrated a story that was aired by CNN’s Anderson Cooper 360

newscast. It is specifically denied that A.B.’s death was due to any conduct

attributable to MHS and is otherwise denied as a conclusion of law to which no

response is required. By way of further response, it is denied that Plaintiffs’

attached a video file as Exhibit “K” to the Amended Complaint, as they failed to

attach any exhibits to the Amended Complaint.

      154.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. The existence of any mental health policy of MHS

as characterized by Plaintiffs is specifically denied.

      155-57.       Denied. By way of further response, the Individual Plaintiffs

were unable to identify “AD” when asked about those initials under oath at their

depositions and therefore the averments of this paragraph are specifically denied.

To the extent deemed factual, the averments of this paragraph are otherwise

specifically denied.

      158.    Denied. By way of further response, the Individual Plaintiffs were

unable to identify “KR” when asked about those initials under oath at their

depositions and therefore the averments of this paragraph are specifically denied.




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To the extent deemed factual, the averments of this paragraph are otherwise

specifically denied.

      159. Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent deemed factual, the averments of this

paragraph are specifically denied.

    COUNT I, ALLEGED VIOLATION OF THE FAIR HOUSING ACT

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
            Company, as trustee of the Milton Hershey School Trust

      160.    Denied. This paragraph concerns a statement of incorporation to

which no response is required.       To the extent a response is required, such

averments are denied. By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.

      161.    Denied. The averments of this paragraph are conclusions of law to

which no response is required.

      162.    Denied. It is specifically denied that MHS discriminated against A.B.

by denying her housing at MHS on the basis of her mental handicap.

      163.    Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, PPI discharged A.B.

on June 19, 2013, into the care of Ms. Fitzpatrick with the oral consent of Plaintiff

Wartluft.    Additionally, A.B. and the Individual Plaintiffs failed to request a


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reasonable accommodation under the Fair Housing Act (“FHA”), and A.B. never

had any intention of participating in Year Round Experience.

      164.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that Newport, PA, was a

“dangerous situation” for A.B.. By way of further response, PPI discharged A.B.

on June 19, 2013, into the care of Ms. Fitzpatrick with the oral consent of Plaintiff

Wartluft, and she was subsequently transported to Newport, PA.

      165.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, A.B.’s enrollment was

never terminated prior to her death.

      166.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, A.B.’s enrollment was

never terminated prior to her death.

      167.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. To the extent deemed factual, the allegations of this

paragraph are denied.

      168.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that Defendants “applied a

policy requiring expulsion after a student is twice admitted to an outside mental




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health institution.” By way of further response, A.B.’s enrollment was never

terminated prior to her death.

      169-72. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent that the allegations of these

paragraphs are deemed factual, the averments are specifically denied.

      173.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, it is specifically denied

that the Individual Plaintiffs or A.B. have suffered any damages.

      174.   Denied.     It is specifically denied that “Defendants’ [purported]

discrimination was a direct and factual cause that led [A.B.] to sustain severe

emotional and psychological harm and humiliation, as well as take her own life.”

      175.   Denied. The averments of this paragraph are conclusions of law to

which no response is required. It is specifically denied that A.B.’s student home

constituted “a dwelling” under the FHA.

      176-77. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. It is specifically denied that any “consideration”

was exchanged between Defendants, the Individual Plaintiffs, or A.B.

      178.   Denied. The averments of this paragraph are conclusions of law to

which no response is required.




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      179.     Denied. The averments of this paragraph are conclusions of law to

which no response is required.        It is specifically denied that “Defendants’

[purported] discrimination was a direct and factual cause that led [A.B.] to sustain

severe emotional and psychological harm and to take her own life[,]” and it is

further denied that Defendants’ actions are in any way “directly and proximately

caused” A.B. to sustain harm.

      180.     Denied. The averments of this paragraph are conclusions of law to

which no response is required. By way of further response, MHS is a school, and

not a twenty-four-hour mental health care facility.

      181-82. Denied. The averments of these paragraphs are conclusions of law

to which no response is required.

  COUNT III, ALLEGED NEGLIGENCE, BREACH OF DUTY OF CARE

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
            Company, as trustee of the Milton Hershey School Trust

      183. Denied.      This paragraph concerns a statement of incorporation to

which no response is required.       To the extent a response is required, such

averments are denied. By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.4




      4
          Plaintiffs’ Amended Complaint does not contain a Count II.

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      184-96. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent the allegations of these paragraphs

are deemed factual, they are denied. All responsive averments in the preceding

paragraphs of this Answer, including the Introduction, are incorporated herein by

reference in denial of these paragraphs.       By way of further response, it is

specifically denied that Defendants owed A.B. “a special and higher duty of

care[.]” By way of further response, any cognizable alleged injuries to A.B. were

caused by the Individual Plaintiffs’ own negligence, and that of Ms. Fitzpatrick

and/or Mr. Fitzpatrick.

                  COUNT V, ALLEGED WRONGFUL DEATH

Plaintiffs, Julie Ellen Wartluft and Frederick L. Bartels, Jr. v. Defendants the
 Milton Hershey School and The Hershey Trust Company, as trustee of the
                         Milton Hershey School Trust

      197.     Denied. This paragraph concerns a statement of incorporation to

which no response is required.       To the extent a response is required, such

averments are denied. By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.5

      198-202. Denied. The averments of these paragraphs are a conclusions of

law to which no response is required. To the extent a response is required, such

averments are denied.

      5
          Plaintiffs’ Amended Complaint does not contain a Count IV.

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                   COUNT VI, ALLEGED SURVIVAL ACT

Plaintiffs, Julie Ellen Wartluft and Frederick L. Bartels, Jr. v. Defendants the
 Milton Hershey School and The Hershey Trust Company, as trustee of the
                         Milton Hershey School Trust

      203.   Denied. This paragraph concerns a statement of incorporation to

which no response is required.       To the extent a response is required, such

averments are denied. By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.

      204-05. Denied. The averments of these paragraphs are a conclusions of

law to which no response is required. To the extent a response is required, such

averments are denied.

      COUNT VII, ALLEGED NEGLIGENT MISREPRESENTATION

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
            Company, as trustee of the Milton Hershey School Trust

      206-17. Denied. The averments of these paragraphs all refer to Count VII

(Negligent Misrepresentation) which this Court dismissed without prejudice in its

December 7, 2018, Memorandum Opinion and Order. As Plaintiffs failed to file a

Second Amended Complaint re-pleading this Count, it is no longer viable, and,

thus, no response is required.     To the extent any response is required, such

averments are denied as conclusions of law, and to the extent deemed factual, are

specifically denied.    By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.
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    COUNT VIII, ALLEGED INTENTIONAL MISREPRESENTATION

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
            Company, as trustee of the Milton Hershey School Trust

      218-24. Denied. The averments of these paragraphs all refer to Count VIII

(Intentional Misrepresentation) which this Court dismissed without prejudice in its

December 7, 2018, Memorandum Opinion and Order. As Plaintiffs failed to file a

Second Amended Complaint re-pleading this Count, it is no longer viable, and,

thus, no response is required.     To the extent any response is required, such

averments are denied as conclusions of law, and to the extent deemed factual, are

specifically denied.   By way of further response, Defendants incorporate the

foregoing paragraphs as though set forth at length herein.

         COUNT IX, ALLEGED INTENTIONAL INFLICTION OF
                     EMOTIONAL DISTRESS

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
            Company, as trustee of the Milton Hershey School Trust

      225-30. Denied. The averments of these paragraphs all refer to Count IX

(Intentional Infliction of Emotional Distress) which this Court dismissed without

prejudice in its December 7, 2018, Memorandum Opinion and Order. As Plaintiffs

failed to file a Second Amended Complaint re-pleading this Count, it is no longer

viable, and, thus no response is required as to them. To the extent any response is

required for the Estate’s allegations, such averments are denied as conclusions of

law, and to the extent deemed factual, are specifically denied. By way of further
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response, Defendants incorporate the foregoing paragraphs as though set forth at

length herein.

           COUNT X, ALLEGED NEGLIGENT INFLICTION OF
                      EMOTIONAL DISTRESS

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
           Company, as Trustee of the Milton Hershey School Trust

      231-35. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent a response is required, such

averments are denied. All responsive averments in the preceding paragraphs of

this Answer, including the Introduction, are incorporated herein by reference in

denial of these paragraphs. By way of further answer, it is specifically denied that

the School had a “custom, practice or policy requiring the expulsion of students

suffering with mental health impairments.”

                 COUNT XI, ALLEGED CIVIL CONSPIRACY TO
                           ENDANGER CHILDREN

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
           Company, as Trustee of the Milton Hershey School Trust

      236-44. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent a response is required, or to the

extent such averments are deemed factual, the averments are specifically denied.

All responsive averments in the preceding paragraphs of this Answer, including the

Introduction, are incorporated herein by reference in denial of these paragraphs.

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By way of further answer, it is specifically denied that “there is an implied civil

cause of action for endangering the welfare of children[,]” as Pennsylvania courts

have consistently held that no cause of action exists. By way of further response,

Defendants incorporate the foregoing paragraphs as though set forth at length

herein.

   COUNT XII, ALLEGED BREACH OF THE FIDUCIARY DUTIES OF
                   CARE AND GOOD FAITH

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
           Company, as Trustee of the Milton Hershey School Trust

      245-53. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent a response is required, such

averments are specifically denied. All responsive averments in the preceding

paragraphs of this Answer, including the Introduction, are incorporated herein by

reference in denial of these paragraphs.

                 COUNT XIII, ALLEGED NEGLIGENCE PER SE

  Plaintiffs v. Defendants the Milton Hershey School and The Hershey Trust
           Company, as Trustee of the Milton Hershey School Trust

      254. Denied.     This paragraph concerns a statement of incorporation to

which no response is required.       To the extent a response is required, such

averments are specifically denied.         By way of further response, Defendants

incorporate the foregoing responsive paragraphs by reference as though set forth at

length herein.
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      255-59. Denied. The averments of these paragraphs are conclusions of law

to which no response is required. To the extent a response is required, such

averments are specifically denied.

                               PRAYER FOR RELIEF

      Answering the Prayer for Relief, and all subparts thereto, Defendants deny

that they are liable to Plaintiffs in any manner whatsoever, and deny each and

every allegation of the Prayer for Relief separately and severally. Defendants

further deny that Plaintiffs are entitled to any relief.

      WHEREFORE, Defendants, the Milton Hershey School, and The Hershey

Trust Company, as trustee of The Milton Hershey School (identified in the caption

and Amended Complaint as “The Hershey Trust Company, as trustee of the Milton

Hershey School Trust”) respectfully request that the Court enter judgment in their

favor and against Plaintiffs, and award all costs, fees, and other relief as the Court

deems appropriate.      It is further requested that all improper items sought in

Plaintiffs’ Prayer for Relief, such as references to the ADA, be stricken and

dismissed with prejudice.

                            AFFIRMATIVE DEFENSES

      In further answering Plaintiffs’ Amended Complaint, with incorporation of

all foregoing responsive averments, Defendants assert the following affirmative

defenses.    Defendants also reserve the right to assert additional affirmative

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defenses that may be pertinent to Plaintiffs’ claims when the precise nature of such

claims are ascertained through discovery and based upon facts as this matter

progresses.

                            First Affirmative Defense

      Plaintiffs’ Amended Complaint fails to state claims upon which relief may

be granted.

                           Second Affirmative Defense

      Plaintiffs’ Amended Complaint fails to state legally cognizable tort claims

against Defendants.

                            Third Affirmative Defense

      MHS, including by and through its employees, fulfilled any duties,

responsibilities, and obligations owed to A.B. and Plaintiffs.

                           Fourth Affirmative Defense

      MHS, including by and through its employees, fulfilled any duties,

responsibilities, and obligations owed to A.B. and Plaintiffs within the scope of

their educational and child welfare mission.

                            Fifth Affirmative Defense

      MHS, including by and through its employees, did not breach any duty owed

to A.B. or Plaintiffs.




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                               Sixth Affirmative Defense

          The duties alleged by Plaintiffs to have been breached by Defendants are

duties owed by persons and/or entities that treated A.B. subsequent to MHS’s

referral of A.B. for in-patient hospitalization at PPI.

                             Seventh Affirmative Defense

          HTC did not commit any of the alleged negligent acts or omissions averred

by Plaintiffs, and HTC cannot be liable for breach of any duty alleged by Plaintiffs

as a matter of law.

                              Eighth Affirmative Defense

          HTC did not breach any duty alleged to be owed to A.B. or Plaintiffs.

                               Ninth Affirmative Defense

          HTC cannot be held vicariously liable for the negligent acts and/or

omissions alleged by Plaintiffs to have been committed by MHS or MHS

employees, any such alleged negligent acts or omissions being expressly denied.

                              Tenth Affirmative Defense

          Neither A.B. nor Plaintiffs sustained any injury for which Defendants are

liable.




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                          Eleventh Affirmative Defense

      Neither A.B. nor Plaintiffs sustained any injury caused by or resulting from

any act or omission by Defendants, their employees, agents, or representatives as

alleged by Plaintiffs.

                           Twelfth Affirmative Defense

      No act or omission by Defendants their employees, agents, or

representatives caused A.B.’s death as alleged by Plaintiffs.

                         Thirteenth Affirmative Defense

      Plaintiffs’ claims are barred because Plaintiffs’ alleged damages, including

any damages alleged to A.B., if any, were caused in whole or in part by their own

actions, omission, and negligence.

                         Fourteenth Affirmative Defense

      In contrast to Plaintiffs, Defendants have at all times acted appropriately,

lawfully, properly, and in good faith.

                          Fifteenth Affirmative Defense

      Plaintiffs were contributorily or comparatively negligent in their acts and/or

omissions leading to and/or causing their alleged damages, including, but not

limited to, the death of A.B.




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                          Sixteenth Affirmative Defense

       Plaintiffs are jointly and/or severally liable to Defendants for contribution

pursuant to Pennsylvania’s Uniform Contribution Among Joint Tortfeasors Act, 42

Pa. C.S.A. § 8321, et seq., including for the factual and legal cause of any alleged

injuries and/or damages suffered by A.B., including, but not limited to, her death.

                        Seventeenth Affirmative Defense

       Because of their actions, omissions, and negligence, Plaintiffs, Karen

Fitzpatrick, and Thomas Fitzpatrick are jointly and severally liable to Defendants

for contribution and/or indemnification with respect to any alleged damages arising

from A.B.’s death.

                         Eighteenth Affirmative Defense

       Plaintiffs have failed to name or join indispensable parties to the present

action, including, but not limited to, Karen Fitzpatrick and Thomas Fitzpatrick,

who are responsible and liable, in whole or in part, for the alleged damages arising

from A.B.’s death. Therefore, the Court cannot grant complete relief among the

existing parties absent the addition of Karen Fitzpatrick and Thomas Fitzpatrick to

this action.




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                          Nineteenth Affirmative Defense

       Plaintiffs’ claims are barred because Plaintiffs’ alleged damages, if any,

were caused in whole or in part by the actions, omission, and/or negligence of non-

parties.

                          Twentieth Affirmative Defense

       Plaintiffs’ claims are barred for lack of factual, legal, and proximate

causation.

                        Twenty-First Affirmative Defense

       Plaintiffs’ claims are barred because suicide constitutes an independent

intervening act that is not reasonably foreseeable as a matter of law.

                       Twenty-Second Affirmative Defense

       Plaintiffs’ claims are barred for failure to mitigate damages.

                        Twenty-Third Affirmative Defense

       Any damages to Plaintiffs were caused by events that occurred separate of,

independent of, and/or after the conduct ascribed to the Defendants in the

Amended Complaint.

                       Twenty-Fourth Affirmative Defense

       Plaintiffs’ claims for negligence are barred by the Enrollment Agreement

executed by the Individual Plaintiffs.




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                           Twenty-Fifth Affirmative Defense

      Plaintiffs’ claims for equitable relief are barred because Plaintiffs have an

adequate remedy at law.

                        Twenty-Sixth Affirmative Defense

      Plaintiffs’ claims for equitable relief are barred because Plaintiffs lack

standing to assert them.

                      Twenty-Seventh Affirmative Defense

      Plaintiffs are not entitled to recover attorney’s fees, punitive damages,

and/or costs and expenses.

                       Twenty-Eighth Affirmative Defense

      Plaintiffs’ claims for wrongful death and the survival act are barred for lack

of underlying tortious conduct.

                        Twenty-Ninth Affirmative Defense

      Plaintiffs’ claims under, inter alia, the FHA are barred because Plaintiffs

lack standing, and otherwise fail to state a claim upon which relief can be granted.

                            Thirtieth Affirmative Defense

      Plaintiffs’ claims under the FHA are barred because A.B. was not a “buyer

or renter” of a dwelling.




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                         Thirty-First Affirmative Defense

      Plaintiffs’ claims under the FHA are barred because A.B. did not receive

unequal services, privileges, or conditions of housing.

                        Thirty-Second Affirmative Defense

      Plaintiffs’ claims under the FHA are barred because Defendants never

refused a necessary and reasonable accommodation.

                        Thirty-Third Affirmative Defense

      Plaintiffs’ claims under the FHA are barred because of a failure of

consideration.

                        Thirty-Fourth Affirmative Defense

      Plaintiffs’ claims dependent upon the existence of an alleged “two-

hospitalization” policy fail because no such policy exists.

                         Thirty-Fifth Affirmative Defense

      Plaintiffs’ claim for civil conspiracy to endanger children fails because there

is no express or implied private cause of action in the statute.

                         Thirty-Sixth Affirmative Defense

      Plaintiffs’ claim for breach of fiduciary duty fails because there is no

fiduciary duty between a school and a student.




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                       Thirty-Seventh Affirmative Defense

      Plaintiffs’ claim for negligence per se fails because the ADA and FHA

cannot serve as the basis for a negligence per se claim.

                       Thirty-Eighth Affirmative Defense

      Plaintiffs’ claims are barred by the spoliation of evidence, including

concerning the causes of A.B.’s death. Plaintiffs concealed from Defendants that

A.B.’s psychotropic medication allegedly went missing on June 26, 2013, three

days before she died by suicide on June 29, 2013, and Plaintiffs have been unable

to produce many of A.B.’s original diaries or journals. Furthermore, the Individual

Plaintiffs failed to ensure that a neurological examination or autopsy was

performed on A.B. Therefore, the coroner did not have all of the information

necessary to identify the cause, mode, and manner of death or the contributing

factors to A.B.’s death. Without a complete autopsy based on all of the facts that

the Individual Plaintiffs withheld, Defendants are deprived of evidence that would

help prove their defenses, and the lack of any causation.

                        Thirty-Ninth Affirmative Defense

      Plaintiffs’ state law claims are barred by the gist of the action doctrine.

                           Fortieth Affirmative Defense

      Plaintiffs’ state law claims are barred by the economic loss doctrine.




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                          Forty-First Affirmative Defense

      Plaintiffs’ claims are barred by the doctrines of estoppel and waiver.

                         Forty-Second Affirmative Defense

      Plaintiffs’ claims are barred by their own breaches of contract.

                          Forty-Third Affirmative Defense

      Plaintiffs’ claims are barred by principles of privilege, release, license,

and/or justification.

                         Forty-Fourth Affirmative Defense

      Plaintiffs’ Amended Complaint and each purported cause of action therein

are barred by the doctrine of unclean hands.

                          Forty-Fifth Affirmative Defense

      Defendants incorporate by reference all affirmative defenses set forth in

Rule 8 of the Federal Rules of Civil Procedure.

                              PRAYER FOR RELIEF

      WHEREFORE, Defendants pray for judgment as follows:

      1.       That the Amended Complaint be dismissed with prejudice;

      2.       That Defendants’ be awarded their costs of suit, including, but not

limited to, reasonable attorneys’ fees; and

      3.       That Defendants be awarded such other and further relief as is just and

appropriate.

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                                   Respectfully submitted,

                                   /s/ Jarad W. Handelman
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Dated: January 22, 2019            Counsel for Defendants




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                          CERTIFICATE OF SERVICE


      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing

Amended Answer with Affirmative Defenses to be filed electronically with the

Court, where it is available for viewing and downloading from the Court’s ECF

system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

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                               Counsel for Plaintiffs



Dated: January 22, 2019                      /s/ Kyle M. Elliott
                                             Kyle M. Elliott, Esquire
